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                  UNITED STATES BANKRUPTCY COURT
                   NORTHERN DISTRICT OF FLORIDA
                       TALLAHASSEE DIVISION
                           www.flnb.uscourt.gov
 In re:                                          Case No.: 16-40246-KKS

 Julius Williams II and Wenoka Tenea             Chapter 7
 Simmons-Williams,

             Debtors.
 __________________________________/

          ORDER GRANTING MOTION FOR RELIEF FROM STAY
                         (DOC. NO.: 139)

          THIS MATTER came before the Court upon the Motion for Relief from

Stay (Doc. No. 139) filed by Santander Consumer USA, Inc. (“Movant”). No

party filed an objection within the proscribed time period, so the Court considers

the matter unopposed. It is

          ORDERED:

          1. The Motion for Relief from Stay is GRANTED.

          2. That the automatic stay imposed by 11 U.S.C. § 362 is terminated as to

Movant's interest in the following property:

          a 2014 Kia Forte VIN: KNAFZ6A39E5195843
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         3.    The automatic stay is modified for the sole purpose of allowing

Movant to complete in rem relief to take any and all steps necessary to exercise

any and all rights it may have in the property, to gain possession of the property, to

have such other and further in rem relief as is just, but the Movant shall not obtain

in personam relief against the Debtors.

         DONE AND ORDERED ON _________________________.
                               December 7, 2018




                                       ___________________________________
                                       KAREN K. SPECIE
                                       United States Bankruptcy Judge

Attorney Chad D. Heckman is directed to serve a copy of this order on interested
parties and file a proof of service within 3 days of entry of the order.

Order prepared by Chad D. Heckman
HLG File No.: 18-609




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